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   (1) The district court’s sole “distinction” between the FAC and SAC—the allega-
       tion that Moody wasn’t motivated by religion, SA.11—is neither a distinction
       (it’s in both complaints) nor relevant (Garrick conceded Moody’s religious mo-
       tivation under penalty of perjury). Br.35; Reply 13-15.
   (2) A religious dispute underlies all of Garrick’s claims, which arose “only after”
       and “[a]s a result of” Garrick being the “first” to engage in “open and ac-
       tive … opposition” to Moody’s clergy-composition beliefs. A.100-110 ¶¶44, 69-
       72, 88, A.124-25; Br.30-32.
   (3) The pretext inquiry ordered below requires inherently entangling civil discov-
       ery into a conceded violation of concededly sincere religious beliefs. Curay-
       Cramer, 450 F.3d at 141; Demkovich, 343 F.Supp.3d at 786-87; NLRB, 559
       F.2d at 1125.

    Finally, as in Trump, requiring the continued “prejudicial effects of incremental
litigation” before review, Demkovich, 3 F.4th at 982, is a “considerable burden” that
would “excessively chill” Moody’s claimed rights.

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                                                  Respectfully submitted,
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